        Case 3:17-cr-00154-B          Document 130          Filed 08/15/17         Page 1 of 1       PageID 317
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                                     IN THE UNITED STATES DISTRICT COURT                            u.s< DISTRICT C0 1 !RT
                                     FOR THE NORTHERN DISTRICT OF TEXAS                        NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION                                            FILED

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 UNITED STATES OF AMERICA
                                                                                                       AUG I 5 2017
 v.                                                          §    CASE NO.: 3:17-CR-1 4-_8(09)      .__________.
                                                             §                                 CLERK. U.5AP~TRICT COURT
 ERIC THOMAS
                                                             §                                  By--~ah~·*~-'-------
                                                                                                            Deputy

                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         ERIC THOMAS, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5th Cir. 1997), has appeared
before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 8 of the eight-count Superseding
Indictment filed April19, 2017. After cautioning and examining ERIC THOMAS under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense charged is
supported by an independent basis in fact containing each of the essential elements of such offense. I therefore recommend
that the plea of guilty be accepted, and that ERIC THOMAS be adjudged guilty of Possession of a Firearm by a Felon, in
violation of 18 U.S.C. §§ 922(g)(l) and 924(a)(2), and have sentence imposed accordingly. After being found guilty of the
offense by the district judge,

/ T h e defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        D       The Government does not oppose release.
        D       The defendant has been compliant with the current conditions of release.
        D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
                person or the community if released and should therefore be released under § 3142(b) or (c).

        D       The Government opposes release.
        D       The defendant has not been compliant with the conditions of release.
        D       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under§ 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing evidence
        that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date:   August 15, 2017

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                                                                  IRMA CARRILLO RAMIREZ
                                                                  UNITED STATES MAGISTRATE JUDGE                      ~
                                                            NOTICE
         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(l)(B).
